Case 1:05-cr-10055-.]DT Document 9 Filed 09/01/05 Page 1 of 2 PagAZlD 10
` 0

UNITED STATES DlSTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case No. l:UZcr10055-001T

[)ERRICK GOODMAN

 

ORDER OF DETENTION PEND|NG TRlAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(0, a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

DERRICK GOODMAN is committed to the custody ofthe Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal DERRICK GOODMAN shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the Unitecl States marshal for
the purpose of an appearance in connection with a Couit proceedingl

Date: AugustB(), 2005 g%/H /97/%‘%-/

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE.

This document entered on the docket sheet ln compliance
with ama 55 and/or 32(b) Fach on O‘i'~OW " 05 _

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CR-10055 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

M. Dianne Srnothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

